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                                                        U.S. Department of Justice

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                                                        United States Attorney

                                                        District of Columbia


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                                                     June 16, 2022

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       Re:      United States v. Rhodes, et al. (22-cr-15-APM); United States v. Crowl, et al. (21-
                cr-28-APM); United States v. Walden (22-cr-14-APM)
                D.C. Rule of Professional Conduct 1.8(e)

Dear Counsel:

       We are writing to all retained counsel in these three related cases.
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        It has come to the government’s attention that at least some portion of some retained
counsel’s legal fees are potentially being provided by an entity other than your respective clients.
We believe this situation implicates D.C. Rule of Professional Conduct 1.8(e). And given the
public reporting on this issue, and our duties of competence (under Rule 1.1) and diligence (under
Rule 1.3) to protect the integrity of the proceeding, we are compelled to request that you certify
that you are in compliance with the requirements of Rule 1.8(e). In addition, at the upcoming court
hearings (on June 25, 2022, in Rhodes; June 30, 2022, in Crowl; and March 24, 2023, in Walden),
we intend to request that Judge Mehta conduct such an inquiry on the record.

        D.C. Rule 1.8(e) provides that “[a] lawyer shall not accept compensation for representing
a client from one other than the client,” unless each of the following three conditions are met:

               (1) The client gives informed consent after consultation;

               (2) There is no interference with the lawyer’s independence of professional
               judgment or with the client-lawyer relationship; and

               (3) Information relating to representation of a client is protected as required
               by Rule 1.6.

D.C. R. Prof’l Conduct 1.8(e). 1 This Court’s Local Criminal Rule 57.26(a) explicitly adopts the
D.C. Rules of Professional Conduct.

         According to a May 20, 2022, article in Mother Jones titled “An Infamous MAGA Lawyer
Is Funding Wacky Legal Defenses for January 6 Suspects,” 2 an organization named Defending the
Republic, which appears to be controlled by a lawyer named Sidney Powell, is paying the legal
fees in this case for Defendants Rhodes, Kelly Meggs, Connie Meggs, and Harrelson. The Mother
Jones article builds off of a March 9, 2022, article in BuzzFeed titled “Sidney Powell Has Secretly
Been Funding the Legal Defense of the Oath Keepers,” 3 which reported many of the same facts.

       According to the BuzzFeed article, Defendant Kelly Meggs’s former counsel Jonathon
Moseley stated that “at least three or four other defendants” have the same arrangement that he
had, meaning being paid by Defending the Republic. Therefore, we believe it is prudent to make
the same Rule 1.8(e) inquiry of all retained counsel.

       The Supreme Court has said that “inherent dangers . . . arise when a criminal defendant is
represented by a lawyer hired and paid by a third party.” Wood v. Georgia, 450 U.S. 261, 269
(1981). In Wood, the third-party payer was the “operator of the alleged criminal enterprise,” and


1
  This rule is almost identical to ABA Model Rule of Professional Conduct 1.9(f).
2
  https://www.motherjones.com/politics/2022/05/sidney-powell-january-6-lawyers-kelly-meggs-
jonathan-moseley-juli-haller/.
3
  https://www.buzzfeednews.com/article/kenbensinger/sidney-powell-funding-oath-keepers-
defense.
                                               2
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thus the lawyer had an interest in the clients not testifying against the third-party payer or taking
other actions contrary to the payer’s interest. 4 Id. Indeed, comment 10 to Rule 1.8 explains that
“third-party payers frequently have interests that differ from those of the client.” Here, Defending
the Republic may have interests that diverge from these defendants.

         To determine whether a lawyer is in compliance with Rule 1.8(e)’s strict requirements, a
judge may need review third-party fee-arrangement agreement. See United States v. Fazzio, No.
11-cr-157, 2011 WL 6140746, at *3 (E.D. La. Dec. 9, 2011) (reviewing the fee-arrangement
agreement in a criminal case and concluding that it produced a conflict in two separate ways). A
judge may similarly need to conduct a colloquy with the lawyer and client to determine whether
the client was sufficiently apprised of the nature of the conflict. See In re Hager, 812 A.2d 904,
914-15 (D.C. 2002) (affirming a finding of a Rule 1.8(e) violation based in part on the client’s
failure to provide informed consent).

       In light of the foregoing, we request that you inform us, in writing, by June 21, 2022, that
you are in compliance with Rule 1.8(e).

       If you would like to discuss this matter further, please do not hesitate to contact us.

                                              Sincerely,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY

                                      By:           /s/
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                                                   /s/
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4
  As Defendant Kelly Meggs’s former counsel Jonathon Moseley told Mother Jones, Defending
the Republic’s “financial support has the effect of making plea bargains less likely.” This fact
could be against the interest of a particular defendant.
                                                   3
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